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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION



  FRIENDS OF THE BITTERROOT,
               Plaintiff,                          CV 20–19–M–DLC

        vs.

  LEANNE MARTEN, Regional                           ORDER
  Forester of Region One of the U.S.
  Forest Service, UNITED STATES
  FOREST SERVICE; an agency of the
  U.S. Department of Agriculture,

               Defendants.

      Before the Court is Plaintiff’s Motion for Attorneys Fees and Other

Expenses. (Doc. 41.) On October 9, 2020, this Court granted Federal Defendants’

motion for extension of time to file a response brief as Plaintiff’s fee motion was

premature. (Doc. 45.) This case is now on appeal to the Ninth Circuit. (Docs. 48

and 49.) Accordingly, the Court will deny Plaintiff’s motion without prejudice as

premature. Plaintiff may refile once there is a final, non-appealable judgment as

defined by the Equal Access to Justice Act.

      IT IS ORDERED that the Motion (Doc. 41) is DENIED without prejudice.
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DATED this 29th day of December, 2020.
